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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Mark Walters,

                       Plaintiff,
                                           Case No. 1:23-cv-3122-MLB
v.

OpenAI, L.L.C.,

                       Defendant.

________________________________/

                                ORDER

     Pursuant to the Court’s September 22, 2023 Order, and in the light

of Defendant’s recent withdrawal of its notice of removal (Dkt. 33), the

Court REMANDS this case to the Superior Court of Gwinnett County.

The Court DENIES AS MOOT Defendant’s Motions to Dismiss

(Dkts. 12; 35).   The Court DENIES Plaintiff’s Motion for Costs and

Attorney’s Fees (Dkt. 34).

     SO ORDERED this 25th day of October, 2023.




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